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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            §   Chapter 11
                                                  §
WATSON GRINDING &                                 §   Case No. 20-30967
MANUFACTURING CO.,                                §
                                                  §
                Debtor.                           §

 LIQUIDATING TRUSTEE’S OMNIBUS OBJECTION TO DUPLICATE LITIGATION
                         PROOFS OF CLAIM

   THIS IS AN OBJECTION TO YOUR CLAIM. THIS OBJECTION ASKS THE
   COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
   BANKRUPTCY CASE. IF YOU DO NOT FILE A RESPONSE WITHIN 30 DAYS
   AFTER THE OBJECTION WAS SERVED ON YOU, YOUR CLAIM MAY BE
   DISALLOWED WITHOUT A HEARING.
   THIS OBJECTION SEEKS TO DISALLOW CERTAIN PROOFS OF CLAIM.
   CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR
   NAMES AND CLAIMS ON SCHEDULE 1 ATTACHED TO THIS OBJECTION.

To the Honorable Marvin Isgur,
United States Bankruptcy Judge:
         Ronald Bankston, in his capacity as the Liquidating Trustee (the “Liquidating Trustee”)

of the Liquidating Trust for the estate of Watson Grinding & Manufacturing Co. (“WGM”), files

this Omnibus Objection to Duplicate Litigation Proofs of Claim (the “Objection”) pursuant to

sections 105(a) and 502(b) of title 11 of the United States Code §§ 101-1532 (the “Bankruptcy

Code”), Rule 3007(d)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 3007-1 of the Bankruptcy Local Rules for the Southern District of Texas (the

“Bankruptcy Local Rules”).

                                 SUMMARY OF OBJECTION

         1.     The Liquidating Trustee objects to certain proofs of claims as duplicative of

claims asserted in pending state court litigation which were deemed filed proofs of claim by a


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previous Court order (the “Duplicate Claims”). The Liquidating Trustee seeks entry of an order

disallowing the Duplicate Claims identified on Schedule 1 attached hereto because each such

claim is asserted by a party who has filed suit against WGM in state court and its claim will be

liquidated as part of the state court litigation process rather than the claims adjudication process

before this Court. The Liquidating Trustee seeks entry of this order without prejudice to any

party’s claims against WGM in the underlying litigation in state court.

                                JURISDICTION AND VENUE

        2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

Objection is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.     The bases for the relief requested in this objection are sections 105(a) and 502(b)

of the Bankruptcy Code, Bankruptcy Rule 3007(d)(1), and Bankruptcy Local Rule 3007-1.

                                     LEGAL AUTHORITY

        4.     Section 502 of the Bankruptcy Code deems the allowance of a claim or interest,

proof of which is filed under section 501 of the Bankruptcy Code “unless a party in

interest . . . objects.” 11 U.S.C. § 502. Bankruptcy Rule 3007 provides certain grounds upon

which “objections to more than one claim may be joined in an omnibus objection,” which

includes objections to claims that “duplicate other claims.” FED. R. BANKR. P. 3007(d)(1).

        5.     Bankruptcy Rule 3001(f) provides that “[a] proof of claim executed and filed in

accordance with [the Bankruptcy Rules] shall constitute prima facie evidence of the validity and

amount of the claim.” See, e.g., In re Jack Kline Co., Inc., 440 B.R. 712, 742 (Bankr. S.D. Tex.

2010). A proof of claim loses the presumption under Bankruptcy Rule 3001(f) when an objecting

party refutes at least one allegation that is essential to the claim’s legal sufficiency. See In re




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Fidelity Holding Co., Ltd., 837 F.2d 696, 698 (5th Cir. 1988). The burden then shifts to the

claimant to prove the validity of its claim by a preponderance of the evidence. Id. Thus, even

with the burden shifting framework, “the ultimate burden of proof always lies with the claimant.”

In re Armstrong, 347 B.R. 581, 583 (Bankr. N.D. Tex. 2006) (citing Raleigh v. Ill. Dep’t of Rev.,

530 U.S. 15 (2000)).

        6.     Pursuant to Bankruptcy Local Rule 3007-1(b) “[a]n objection to claim may be

filed without a hearing date.”

                                  FACTUAL BACKGROUND

        7.     On February 6, 2020, WGM filed a voluntary petition for relief under chapter 11

of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of

Texas, Houston Division (the “Court”).

        8.     On May 28, 2020, the Court entered the Order Recognizing Pending Litigation

Complaints as Proofs of Claim (Doc. No. 310). This order provides, in pertinent part:

                   a. The Debtor shall recognize the claims asserted in a petition or complaint
                      filed by any party who is a plaintiff in a lawsuit filed against the Debtors
                      as of July 8, 2020, as a timely filed proof of claim asserting an
                      unliquidated, general unsecured claim.

                   b. Any such party shall not be required to file a formal proof of claim in
                      order to preserve its claims against the estate.

                   c. These informal proofs of claim shall be deemed objected to upon the filing
                      of an answer or motion to dismiss the petition or complaint in the
                      respective lawsuit, and shall not be deemed an allowed claim until the
                      claim is either settled or liquidated to a final judgment in any court of
                      competent jurisdiction.

        9.     Notwithstanding this Order, a significant number of plaintiffs in the state court

lawsuits filed proofs of claim against WGM. Attached hereto as Schedule 1 is a list of all

Duplicate Claims filed by plaintiffs identified by (i) dated filed, (ii) proof of claim number, (iii)




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adversary proceeding in which the claim was originally asserted, (iv) name of the claimant, (v)

amount of the claim, and (vi) the plaintiff’s lawyer.

        10.    On December 30, 2020, the Court entered an order confirming the First Amended

Combined Disclosure Statement and Joint Plan of Liquidation of Watson Grinding &

Manufacturing Co. and Watson Valve Services, Inc. Under Chapter 11 of the Bankruptcy Code

Filed by the January 24 Claimants Committee (the “Plan”) [Doc. No. 971].

        11.    Pursuant to Article XVII of the Plan, “the Bankruptcy Court shall have no

jurisdiction to allow, disallow, determinate, liquidate, classify, estimate or establish the

propriety, Secured or Unsecured status, or amount of any January 24 Claim that is asserted in

one of the Removed Lawsuits, even if such Claimant also filed a proof of claim based on the

Removed Lawsuit.”

        12.    Pursuant to Article XIV of the Plan, the Liquidating Trustee has standing to object

to January 24 Claims.

        13.    The Duplicate Claims are January 24 Claims based on Removed Lawsuits for

which a proof of claim was also filed.

                                  CLAIMS AND OBJECTION

        14.    The Liquidating Trustee objects to each claim listed in Schedule 1 as a

“Duplicate Claim” because they are duplicative of the claims asserted in the Removed Lawsuits

(as defined in the Plan) listed in Schedule 1 and which were deemed filed claims pursuant to an

earlier court order (Doc. No. 310).

        15.    The Plan specifically and unequivocally divests the Bankruptcy Court over

jurisdiction of the Removed Lawsuits in favor of remanding those cases to an MDL panel in state

court even where a plaintiff also filed a proof of claim.




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        16.    This relief will not prejudice the Duplicate Claimants. All of the claims asserted

in the Duplicate Claims will be adjudicated and liquidated in the state court MDL proceeding as

provided for in the Plan. Nothing in this objection shall be construed as an objection to the

amount or merits of any Duplicate Claim.

        17.    This objection is supported by the Declaration of Ronald G. Bankston in Support

of the Liquidating Trustee’s Omnibus Objection to Duplicate Litigation Proofs of Claim (the

“Bankston Declaration”), attached hereto as Exhibit A.

        18.    Accordingly, the Liquidating Trustee requests that the Duplicate Claims in

Schedule 1 be disallowed in their entirety without prejudice to the Claimants’ claims asserted in

the remanded state court cases.

                            SEPARATE CONTESTED MATTER

        19.    To the extent that a response is filed regarding any Duplicate Claim and the

Liquidating Trustee is not able to resolve any such response, each Duplicate Claim, and the

Objection as it pertains to such Duplicate Claim, will constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. Further, the Liquidating Trustee requests that any order

entered by the Court regarding an objection or other reply asserted in response to this Objection

be deemed a separate order with respect to each proof of claim.

                                        CONCLUSION

        WHEREFORE, the Liquidating Trustee respectfully requests that this Court grant the

Liquidating Trustee’s Objection as set forth above, and grant relief to which the Liquidating

Trustee may be justly entitled.




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        Dated: March 5, 2021.

                                          Respectfully submitted by:

                                          PORTER HEDGES, LLP

                                          /s/ Aaron J. Power
                                          Joshua W. Wolfshohl
                                          State Bar No. 24038592
                                          Aaron J. Power
                                          State Bar No. 24058058
                                          1000 Main Street, 36th Floor
                                          Houston, Texas 77002
                                          Telephone: (713) 226-6000
                                          Facsimile: (713) 226-6248

                                          Counsel for the Liquidating Trustee




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                                    CERTIFICATE OF SERVICE

        I certify that on March 5, 2021, I caused a copy of the foregoing document to be served

by email to all counsel listed on Schedule 1 and by the Electronic Case Filing System to all

parties appearing in these cases.

                                                      /s/ Aaron J. Power
                                                      Aaron J. Power



                             CERTIFICATE OF CONFERENCE

        I certify that on February 26, 2021, I sent a draft of this objection and the proposed order

to all counsel who are listed on Schedule 1 with a request for comments by no later than March

4, 2021. No responses were received prior to filing this objection.

                                                      /s/ Aaron J. Power
                                                      Aaron J. Power




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                                                         SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.              Claimant             POC Amount       Attorney Name
             3/10/2020      11       20-03326     Essentia Insurance Company, as        $32,890.81     Mark A. Solomon
                                                  subrogee of William Usher
             3/10/2020      12       20-03326     Essentia Insurance Company, as        $17,300.00    Mark A. Solomon
                                                  subrogee of Ressler
             3/10/2020      13       20-03326     Essentia Insurance Company, as        $32,609.27    Mark A. Solomon
                                                  subrogee of Kamins
             3/10/2020      14       20-03326     Essentia Insurance Company, as        $23,814.32    Mark A. Solomon
                                                  subrogee of Rossman
             3/10/2020      15       20-03326     Essentia Insurance Company, as        $26,287.44    Mark A. Solomon
                                                  subrogee of Keckeisen
             3/13/2020      16       20-03326     Southern Vanguard Insurance No,       $10,209.65    Mark A. Solomon
                                                  subrogee of Gutierrez
             3/23/2020      17       20-03326     Southern Vanguard Insurance No,        $5,384.02    Mark A. Solomon
                                                  subrogee of Morales
             3/23/2020      18       20-03326     Southern Vanguard Insurance No,       $82,038.74    Mark A. Solomon
                                                  subrogee of Milner
             3/23/2020      19       20-03326     Southern Vanguard Insurance No,      $108,014.00    Mark A. Solomon
                                                  subrogee of Uriostegui
             3/23/2020      20       20-03326     Southern Vanguard Insurance No,        $9,761.45    Mark A. Solomon
                                                  subrogee of Tiende
             3/23/2020      21       20-03326     Southern Vanguard Insurance No,       $23,515.23    Mark A. Solomon
                                                  subrogee of Ortiz
             3/23/2020      22       20-03326     Southern Vanguard Insurance No,        $9,575.53    Mark A. Solomon
                                                  subrogee of Vargas
             3/23/2020      23       20-03326     Southern Vanguard Insurance No,        $6,554.38    Mark A. Solomon
                                                  subrogee of Wallingsford
             3/23/2020      24       20-03326     Southern Vanguard Insurance No,       $12,203.63    Mark A. Solomon
                                                  subrogee of Thurman
             3/23/2020      25       20-03326     Southern Vanguard Insurance No,       $25,477.68    Mark A. Solomon
                                                  subrogee of Aguilar




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                                                         SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.              Claimant             POC Amount        Attorney Name
             3/23/2020      26       20-03326     Southern Vanguard Insurance No,       $10,604.87      Mark A. Solomon
                                                  subrogee of Cole
             3/23/2020      27       20-03326     Southern Vanguard Insurance No,        $4,471.47     Mark A. Solomon
                                                  subrogee of Robles
             3/23/2020      28       20-03326     Southern Vanguard Insurance No,        $7,739.75     Mark A. Solomon
                                                  subrogee of Shin
             3/23/2020      29       20-03326     Southern Vanguard Insurance No,       $42,157.66     Mark A. Solomon
                                                  subrogee of Juarez
             4/13/2020      40       20-03168     S&I Realty, LLC                      $717,282.23        Kevin Madden
             5/8/2020       48       20-03337     Cypress Texas Insurance Company       $41,957.53        Trenton Leigh

             6/17/2020      62       20-3375      Charlene Greco                       Unliquidated          Rob Kwok
             6/24/2020      69       20-03376     Michael Jeffcoat                     Unliquidated    Matthew R. Willis
             6/24/2020      70       20-03376     Leslie Hall                          Unliquidated    Matthew R. Willis
             6/24/2020      71       20-03376     Miguel Moreno                        Unliquidated    Matthew R. Willis
             6/24/2020      72       20-03376     Linda Garcia                         Unliquidated    Matthew R. Willis
             6/24/2020      73       20-03376     Lenetta Webbert                      Unliquidated    Matthew R. Willis
             6/24/2020      74       20-03376     Josiah Anderson                      Unliquidated    Matthew R. Willis
             6/24/2020      75       20-03376     Maria Alas                           Unliquidated    Matthew R. Willis
             6/24/2020      76       20-03376     Maria Olivo                          Unliquidated    Matthew R. Willis
             6/24/2020      77       20-03376     Joseph Wells                         Unliquidated    Matthew R. Willis
             6/24/2020      78       20-03376     Joshua Tibbs                         Unliquidated    Matthew R. Willis
             6/24/2020      79       20-03376     Ray Riley                            Unliquidated    Matthew R. Willis
             6/24/2020      80       20-03376     Rita Rivera                          Unliquidated    Matthew R. Willis
             6/24/2020      81       20-03376     Rolando Morales                      Unliquidated    Matthew R. Willis
             6/24/2020      82       20-03376     Mark Allen                           Unliquidated    Matthew R. Willis
             6/24/2020      83       20-03376     Adam Alani                           Unliquidated    Matthew R. Willis
             6/24/2020      84       20-03376     Tara Carter                          Unliquidated    Matthew R. Willis
             6/24/2020      85       20-03376     Temika Webbert                       Unliquidated    Matthew R. Willis
             6/24/2020      86       20-03376     Jose Vasquez                         Unliquidated    Matthew R. Willis
             6/24/2020      87       20-03376     Tricia Berry                         Unliquidated    Matthew R. Willis
             6/24/2020      88       20-03376     Vicente Cardoso                      Unliquidated    Matthew R. Willis
             6/24/2020      89       20-03376     Valeriano Mendoza                    Unliquidated    Matthew R. Willis
             6/24/2020      90       20-03376     Alejandro Moreno                     Unliquidated    Matthew R. Willis


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                                                           SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.                Claimant   POC Amount        Attorney Name
             6/24/2020       91      20-03376       Alexander Lee             Unliquidated     Matthew R. Willis
             6/24/2020       92      20-03376       Anna Castro               Unliquidated     Matthew R. Willis
             6/24/2020       93      20-03376       Valeriano Mendoza         Unliquidated     Matthew R. Willis
             6/24/2020       94      20-03376       Jasmine Moreno            Unliquidated     Matthew R. Willis
             6/24/2020       95      20-03376       Veronica Garcia           Unliquidated     Matthew R. Willis
             6/24/2020       96      20-03376       Erica Moreno              Unliquidated     Matthew R. Willis
             6/24/2020       97      20-03376       Eunice Quill              Unliquidated     Matthew R. Willis
             6/24/2020       98      20-03376       Salvador Morales          Unliquidated     Matthew R. Willis
             6/24/2020       99      20-03376       Johnathan Olivo           Unliquidated     Matthew R. Willis
             6/24/2020      100      20-03376       Rebecca Moreno            Unliquidated     Matthew R. Willis
             6/24/2020      101      20-03376       Jose Sanchez              Unliquidated     Matthew R. Willis
             6/24/2020      102      20-03376       Ronnie Ellis              Unliquidated     Matthew R. Willis
             6/24/2020      103       20-03376      Nadia Slack                Unliquidated    Matthew R. Willis
             6/24/2020      104       20-03376      Reda Choukair              Unliquidated    Matthew R. Willis
             6/24/2020      105       20-03376      Ricardo Sutton             Unliquidated    Matthew R. Willis
             6/24/2020      106       20-03376      John Andersen              Unliquidated    Matthew R. Willis
             6/24/2020      107       20-03376      Mike Ayers                 Unliquidated    Matthew R. Willis
             6/24/2020      108       20-03376      Christopher Olivo          Unliquidated    Matthew R. Willis
             6/24/2020      109       20-03376      Da'Aron Harmon             Unliquidated    Matthew R. Willis
             6/24/2020      110       20-03376      Fernando Arias             Unliquidated    Matthew R. Willis
             6/24/2020      111       20-03376      Daphne Griffin             Unliquidated    Matthew R. Willis
             6/24/2020      112       20-03376      Dale Singleton             Unliquidated    Matthew R. Willis
             6/24/2020      113       20-03376      Daphne Griffin             Unliquidated    Matthew R. Willis
             6/24/2020      114       20-03376      Dellia Hall                Unliquidated    Matthew R. Willis
             6/24/2020      115       20-03376      Dwanae Jorden              Unliquidated    Matthew R. Willis
             6/24/2020      116       20-03376      Eduardo Ocen               Unliquidated    Matthew R. Willis
             6/24/2020      117       20-03376      Johnathan Galvan           Unliquidated    Matthew R. Willis
             6/24/2020      118       20-03376      Larry Seligmann            Unliquidated    Matthew R. Willis
             6/24/2020      119       20-03376      Michael Berry              Unliquidated    Matthew R. Willis
             6/24/2020      120       20-03376      Martin Garcia              Unliquidated    Matthew R. Willis
             6/24/2020      121       20-03376      Stefanie Young             Unliquidated    Matthew R. Willis
             6/24/2020      122       20-03376      Fay Hall                   Unliquidated    Matthew R. Willis
             6/24/2020      123       20-03376      Emmalina Martinez          Unliquidated    Matthew R. Willis
             6/24/2020      124       20-03376      Eunice Quill               Unliquidated    Matthew R. Willis


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                                                           SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.                Claimant   POC Amount       Attorney Name
             6/24/2020      125      20-03376       Fay Hall                  Unliquidated    Matthew R. Willis
             6/24/2020      126      20-03376       Jaclyn Williams           Unliquidated    Matthew R. Willis
             6/24/2020      127      20-03376       Herbert Maduro            Unliquidated    Matthew R. Willis
             6/24/2020      128      20-03376       Johnyce Adams             Unliquidated    Matthew R. Willis
             6/24/2020      129      20-03376       Reda Choukair             Unliquidated    Matthew R. Willis
             6/24/2020      130      20-03376       Mike Ayers                Unliquidated    Matthew R. Willis
             6/24/2020      131      20-03376       Nadia Slack               Unliquidated    Matthew R. Willis
             6/24/2020      132      20-03376       Veronica Garcia           Unliquidated    Matthew R. Willis
             6/24/2020      133      20-03376       Vicente Cardoso           Unliquidated    Matthew R. Willis
             6/24/2020      135      20-03376       Ronnie Ellis              Unliquidated    Matthew R. Willis
             6/24/2020      136      20-03376       Salvador Morales          Unliquidated    Matthew R. Willis
             6/24/2020      137      20-03376       Ricardo Sutton            Unliquidated    Matthew R. Willis
             6/24/2020      138      20-03376       Miguel Moreno             Unliquidated    Matthew R. Willis
             6/24/2020      140      20-03376       Alexander Lee             Unliquidated    Matthew R. Willis
             6/24/2020      141      20-03376       Michael Jeffcoat          Unliquidated    Matthew R. Willis
             6/24/2020      142      20-03376       Michael Jeffcoat          Unliquidated    Matthew R. Willis
             6/24/2020      143      20-03376       Alejandro Moreno          Unliquidated    Matthew R. Willis
             6/24/2020      144      20-03376       Alexander Lee             Unliquidated    Matthew R. Willis
             6/24/2020      145      20-03376       Fernando Arias            Unliquidated    Matthew R. Willis
             6/24/2020      146      20-03376       Francisco Olivo           Unliquidated    Matthew R. Willis
             6/24/2020      147      20-03376       Herbert Maduro            Unliquidated    Matthew R. Willis
             6/24/2020      148      20-03376       John Andersen             Unliquidated    Matthew R. Willis
             6/24/2020      149      20-03376       Johnathan Galvan          Unliquidated    Matthew R. Willis
             6/24/2020      150      20-03376       Joseph Wells              Unliquidated    Matthew R. Willis
             6/24/2020      151      20-03376       Johnathan Olivo           Unliquidated    Matthew R. Willis
             6/24/2020      152      20-03376       Eric Morales              Unliquidated    Matthew R. Willis
             6/24/2020      153      20-03376       Josiah Anderson           Unliquidated    Matthew R. Willis
             6/24/2020      154      20-03376       Herbert Maduro            Unliquidated    Matthew R. Willis
             6/24/2020      155      20-03376       Jaclyn Williams           Unliquidated    Matthew R. Willis
             6/24/2020      156      20-03376       Larry Seligmann           Unliquidated    Matthew R. Willis
             6/24/2020      157      20-03376       Lenetta Webbert           Unliquidated    Matthew R. Willis
             6/24/2020      158      20-03376       Leslie Hall               Unliquidated    Matthew R. Willis
             6/24/2020      159      20-03376       Linda Garcia              Unliquidated    Matthew R. Willis
             6/24/2020      160      20-03376       Maria Alas                Unliquidated    Matthew R. Willis



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                                                           SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.                Claimant             POC Amount        Attorney Name
             6/24/2020      161      20-03376       Maria Olivo                         Unliquidated     Matthew R. Willis
             6/24/2020      162      20-03376       Mark Allen                          Unliquidated     Matthew R. Willis
             6/24/2020      163      20-03376       Martin Garcia                       Unliquidated     Matthew R. Willis
             6/24/2020      164      20-03376       Michael Berry                       Unliquidated     Matthew R. Willis
             6/24/2020      165      20-03376       Eric Quill                          Unliquidated     Matthew R. Willis
             6/24/2020      166      20-03376       Johnyce Adams                       Unliquidated     Matthew R. Willis
             6/24/2020      167      20-03376       Francisco Olivo                     Unliquidated     Matthew R. Willis
             6/24/2020      168      20-03376       Herbert Maduro                      Unliquidated     Matthew R. Willis
             6/24/2020      169      20-03376       Erica Moreno                        Unliquidated     Matthew R. Willis
             6/24/2020      170      20-03376       Eric Quill                          Unliquidated     Matthew R. Willis
             6/24/2020      171      20-03376       Erica Moreno                        Unliquidated     Matthew R. Willis
             6/24/2020      172      20-03376       Stefanie Young                      Unliquidated     Matthew R. Willis
             6/24/2020      173      20-03376       Tara Carter                         Unliquidated     Matthew R. Willis
             6/24/2020      174      20-03376       Temika Webbert                      Unliquidated     Matthew R. Willis
             6/24/2020      175      20-03376       Tricia Berry                        Unliquidated     Matthew R. Willis
             6/24/2020      176      20-03376       Jose Sanchez                        Unliquidated     Matthew R. Willis
             6/24/2020      177      20-03376       Eduardo Ocen                        Unliquidated     Matthew R. Willis
             6/24/2020      178      20-03376       Emmalina Martinez                   Unliquidated     Matthew R. Willis
             6/24/2020      179      20-03376       Dellia Hall                         Unliquidated     Matthew R. Willis
             6/24/2020      180      20-03376       Dwanae Jorden                       Unliquidated     Matthew R. Willis
             6/24/2020      181      20-03376       Dale Singleton                      Unliquidated     Matthew R. Willis
             6/24/2020      182      20-03376       Christopher Olivo                   Unliquidated     Matthew R. Willis
             6/24/2020      183      20-03376       Da'Aron Harmon                      Unliquidated     Matthew R. Willis
             6/29/2020      190      20-03360       AMICA MUTUAL INSURANCE               $294,463.30    Dean Pappas; Frank
                                                    COMPANY                                                       Vlahakos
             6/29/2020      192       20-03369      Ana Moss                             $130,000.00              Eric Dick
             7/1/2020       205       20-03383      Maria Blanco                         Unliquidated      Anthony Buzbee
             7/1/2020       206       20-03383      Maria Blanco                         Unliquidated      Anthony Buzbee
             7/1/2020       207       20-03383      Cathryn R. Bottoms                   Unliquidated      Anthony Buzbee
             7/1/2020       208       20-03383      Joe Brunson                          Unliquidated      Anthony Buzbee
             7/1/2020       209       20-03383      Susie Brunson as next friend of      Unliquidated      Anthony Buzbee
                                                    Bylan B.
             7/1/2020       210       20-03383      Susie Brunson, Individually          Unliquidated      Anthony Buzbee
             7/1/2020       211       20-03383      Sara G. Darrow                       Unliquidated      Anthony Buzbee


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                                                          SCHEDULE 1

             Date Filed   POC No.   Adv. Pro. No.              Claimant               POC Amount        Attorney Name
             7/1/2020       212      20-03383     John DaSilva                          Unliquidated       Anthony Buzbee
             7/1/2020       213      20-03383     Kay DaSilva                           Unliquidated       Anthony Buzbee
                                                  Tasha Felder, Individually and on
             7/1/2020       214      20-03383     Behalf                                 Unliquidated     Anthony Buzbee
             7/1/2020       215      20-03383     Johnnie Huynh                          Unliquidated     Anthony Buzbee
             7/1/2020       216      20-03383     Henry Lindsay                          Unliquidated     Anthony Buzbee
             7/1/2020       217      20-03383     Sophie Lindsay                         Unliquidated     Anthony Buzbee
             7/1/2020       218      20-03383     Kelly Mallady                          Unliquidated     Anthony Buzbee
             7/1/2020       219      20-03383     Ana Luisa Singu                        Unliquidated     Anthony Buzbee
             7/2/2020       227      20-03383     Amado Anguiano                         Unliquidated     Anthony Buzbee
                                                  Tasha Felder, Individually and on
             7/2/2020       228      20-03383     Behalf                                 Unliquidated     Anthony Buzbee
                                                  Tasha Felder, Individually and on
             7/2/2020       229      20-03383     Behalf                                 Unliquidated     Anthony Buzbee
             7/2/2020       230      20-03383     Yoloanda Navarro                       Unliquidated     Anthony Buzbee
             7/2/2020       231      20-03383     Erick Anaya                            Unliquidated     Anthony Buzbee
             7/2/2020       232      20-03383     Victoria Chavez                        Unliquidated     Anthony Buzbee
             7/2/2020       233      20-03383     Paola Chazarreta                       Unliquidated     Anthony Buzbee
             7/2/2020       234      20-03383     Paola G. Chazarreta                    Unliquidated     Anthony Buzbee
             7/2/2020       235      20-03383     Jose D. Coreas                         Unliquidated     Anthony Buzbee
             7/2/2020       236      20-03383     Jorge Garcia                           Unliquidated     Anthony Buzbee
             7/2/2020       237      20-03383     Donald Holcomb                         Unliquidated     Anthony Buzbee
                                                  Ken Holland, Individually and on
             7/2/2020       238      20-03383     behalf                                 Unliquidated     Anthony Buzbee
                                                  Ken Holland, Individually and on
             7/2/2020       239      20-03383     behalf                                 Unliquidated     Anthony Buzbee
             7/2/2020       240      20-03383     Byron Keith House                      Unliquidated     Anthony Buzbee
             7/2/2020       241      20-03383     Odess Marie James House                Unliquidated     Anthony Buzbee
             7/2/2020       258      20-03383     Elaine Jackson                         Unliquidated     Anthony Buzbee
             7/2/2020       259      20-03383     Jair Leal                              Unliquidated     Anthony Buzbee
                                                  Leonard Lebo o/b/o Pinemont
             7/2/2020       260      20-03383     Properties,                            Unliquidated     Anthony Buzbee
             7/2/2020       261      20-03383     Nelly Zelaya                           Unliquidated     Anthony Buzbee
             7/2/2020       262      20-03383     Anthony Uriostegui                     Unliquidated     Anthony Buzbee



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             Date Filed   POC No.   Adv. Pro. No.               Claimant                 POC Amount        Attorney Name
             7/2/2020       263      20-03383       Tina Tran                              Unliquidated       Anthony Buzbee
             7/2/2020       264      20-03383       Reyna Malerva Torres                   Unliquidated       Anthony Buzbee
             7/2/2020       265      20-03383       Hossein Sondjani                       Unliquidated       Anthony Buzbee
             7/2/2020       266      20-03383       Oanh Nguyen                            Unliquidated       Anthony Buzbee
             7/2/2020       267      20-03383       Joy Sessions                           Unliquidated       Anthony Buzbee
             7/2/2020       268      20-03383       Joy Sessions o/b/o Jaylyn Sessions     Unliquidated       Anthony Buzbee

             7/2/2020       269       20-03383      Mijah Sessions                          Unliquidated     Anthony Buzbee
             7/2/2020       270       20-03383      Jasiah Sessions                         Unliquidated     Anthony Buzbee
             7/2/2020       271       20-03383      Maria Battiste                          Unliquidated     Anthony Buzbee
             7/2/2020       272       20-03383      Dale C. Battiste                        Unliquidated     Anthony Buzbee
             7/2/2020       273       20-03383      Deborah Patten                          Unliquidated     Anthony Buzbee
             7/2/2020       274       20-03383      Delta Hernandez                         Unliquidated     Anthony Buzbee
             7/2/2020       275       20-03383      Esperanza Tabares                       Unliquidated     Anthony Buzbee
             7/2/2020       276       20-03383      Ethan Decicco                           Unliquidated     Anthony Buzbee
             7/7/2020       280       20-03383      Greg Malloch                            Unliquidated     Anthony Buzbee
             7/7/2020       281       20-03383      Isabel Campoverde                       Unliquidated     Anthony Buzbee
             7/7/2020       282       20-03383      Fredregille, James B                    Unliquidated     Anthony Buzbee
             7/7/2020       283       20-03383      James Walker                            Unliquidated     Anthony Buzbee
             7/7/2020       284       20-03383      Jorge Castillo                          Unliquidated     Anthony Buzbee
             7/7/2020       285       20-03383      Kasi Kirby                              Unliquidated     Anthony Buzbee
             7/7/2020       286       20-03383      Juan Reyes                              Unliquidated     Anthony Buzbee
             7/7/2020       287       20-03383      Kathy Collins                           Unliquidated     Anthony Buzbee
             7/7/2020       288       20-03383      Nathan Decicco                          Unliquidated     Anthony Buzbee
             7/7/2020       289       20-03383      Michael Smooke                          Unliquidated     Anthony Buzbee
             7/7/2020       290       20-03383      Michelle Jimenez                        Unliquidated     Anthony Buzbee
             7/7/2020       291       20-03383      Normajean Paula Hernandez               Unliquidated     Anthony Buzbee
             7/7/2020       292       20-03383      Nestor Javier Gonzalez Velazquez        Unliquidated     Anthony Buzbee
             7/7/2020       293       20-03383      Marilyn Cue                             Unliquidated     Anthony Buzbee
             7/7/2020       294       20-03383      Luis Carreon                            Unliquidated     Anthony Buzbee
             7/7/2020       295       20-03383      Christina Thurman                       Unliquidated     Anthony Buzbee
             7/7/2020       296       20-03383      Rodriguez Clementina Izaguirre          Unliquidated     Anthony Buzbee
             7/7/2020       297       20-03383      Melissa Walker                          Unliquidated     Anthony Buzbee
             7/7/2020       298       20-03383      Melissa Walker                          Unliquidated     Anthony Buzbee



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             Date Filed   POC No.   Adv. Pro. No.              Claimant              POC Amount        Attorney Name
             7/7/2020       301      20-03238     Aegis Security Insurance Company       $43,546.29        Randall Poelma

             7/7/2020       302      20-03238     AmGUARD Insurance Company              $49,511.48        Randall Poelma
             7/7/2020       303      20-03238     National Lloyds Insurance Co.          $94,797.69        Randall Poelma
             7/7/2020       306      20-03335     Felipe Revuelta                       $107,660.99          Michael Bins
             7/7/2020       307      20-03338     Zee Lee                                $67,213.02          Michael Bins
             7/7/2020       308      20-03383     Maria Adela Perez                     Unliquidated      Anthony Buzbee
             7/7/2020       309      20-03366     Charlene Marthieo                     Unliquidated      Anthony Buzbee
             7/7/2020       310      20-03366     Mark Marthieo                         Unliquidated      Anthony Buzbee
             7/7/2020       311      20-03366     Yasmin Marthieo                       Unliquidated      Anthony Buzbee
             7/7/2020       312      20-03383     James Walker                          Unliquidated      Anthony Buzbee
             7/7/2020       313      20-03383     Susie Brunson obo Ariana Brunson      Unliquidated      Anthony Buzbee

             7/7/2020       314      20-03383     Susie Brunson obo Jack Brunson        Unliquidated      Anthony Buzbee
             7/7/2020       315      20-03383     Calixto Lopez                         Unliquidated      Anthony Buzbee
             7/7/2020       316      20-03383     Chao Gao                              Unliquidated      Anthony Buzbee
             7/7/2020       317      20-03383     Otilla Arjona                         Unliquidated      Anthony Buzbee
             7/7/2020       318      20-03383     Pedro Arjona                          Unliquidated      Anthony Buzbee
             7/7/2020       319      20-03383     Peter Arjona                          Unliquidated      Anthony Buzbee
             7/7/2020       320      20-03383     Sofia Ferrel                          Unliquidated      Anthony Buzbee
             7/7/2020       321      20-03383     Arthur Ferrel                         Unliquidated      Anthony Buzbee
             7/7/2020       322      20-03383     Arthur Ahn Nguyen                     Unliquidated      Anthony Buzbee
             7/7/2020       323      20-03383     William Walingsford                   Unliquidated      Anthony Buzbee
             7/7/2020       324      20-03383     Tina Do                               Unliquidated      Anthony Buzbee
             7/7/2020       325      20-03383     Tan Truong                            Unliquidated      Anthony Buzbee
             7/7/2020       326      20-03383     Beronica Tabares                      Unliquidated      Anthony Buzbee
             7/7/2020       327      20-03383     Veronic Jimenez                       Unliquidated      Anthony Buzbee
             7/7/2020       328      20-03383     Agnex Panong                          Unliquidated      Anthony Buzbee
             7/8/2020       336      20-03335     Leticia and Valentin Revuelta          $78,561.97         Michael Bins
             7/8/2020       337      20-03341     Toan Ly                                $55,153.23         Michael Bins
             7/8/2020       338      20-03340     Jose & Lidia Rodriguez                 $58,681.67         Michael Bins
             7/8/2020       339      20-03339     Tony Henry Yu                          $66,526.36         Michael Bins
             7/8/2020       342      20-03334     Binh Lu an Quyen Lu                    $70,000.00         Michael Bins
             7/8/2020       343      20-03333     Chuyen Tu                              $75,000.00         Michael Bins



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             Date Filed   POC No.   Adv. Pro. No.               Claimant                 POC Amount       Attorney Name
             7/8/2020       344       20-03340      Lidia Rodriguez                        $300,000.00         Michael Bins
             7/8/2020       350       20-03082      Yesenia Ayala, as Next Fried of        Unliquidated        Byron Alfred
                                      20-03381      I.C. and
             7/8/2020       351       20-03383      Ryan Hess                              Unliquidated     Anthony Buzbee
             7/8/2020       352       20-03383      Alfonso Rodriguez                      Unliquidated     Anthony Buzbee
             7/8/2020       353       20-03351      Brandi Peck                            Unliquidated     Anthony Buzbee
                                                    Allstate Fire & Casualty Insurance                      Mark Grotefeld;
             7/8/2020       357       20-03291      Company                                  $29,152.16       Adam Copack
             7/8/2020       358       20-03291      Allstate Indemnity Company               $13,477.62     Mark Grotefeld;
                                                                                                              Adam Copack
             7/8/2020       359       20-03291      Allstate Texas Lloyds                   $773,992.98      Mark Grotefeld;
                                                                                                              Adam Copack
                                                    Allstate Vehicle and Property                            Mark Grotefeld;
             7/8/2020       360       20-03291      Insurance Company                     $4,547,311.96       Adam Copack
             7/8/2020       361       20-03291      State Farm Lloyds                     $3,882,923.98      Mark Grotefeld;
                                                                                                              Adam Copack
             7/8/2020       362       20-03291      State Farm Automobile Insurance          $60,283.82      Mark Grotefeld;
                                                    Co.                                                       Adam Copack
             7/8/2020       363       20-03291      Progressive County Mutual                $27,003.96      Mark Grotefeld;
                                                    Insurance Company                                         Adam Copack
             7/8/2020       364       20-03291      Lighthouse Property Insurance           $263,126.35      Mark Grotefeld;
                                                    Corporation                                               Adam Copack
             7/8/2020       365       20-03291      Liberty Insurance Corporation           $294,995.41      Mark Grotefeld;
             7/8/2020       366       20-03291      Liberty Lloyds of Texas Insurance        $31,234.79       Adam
                                                                                                             Mark   Copack
                                                                                                                  Grotefeld;
                                                    Company                                                   Adam Copack
             7/8/2020       367       20-03291      Safeco Insurance Company of              $66,123.35      Mark Grotefeld;
                                                    Indiana                                                   Adam Copack




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